I hereby certify that this instrument is a true and correct copy of
the original on file in my office. Attest: Sandy Opacich, Clerk
U.S. District Court, Northern District of Ohio
By: /s/Robert Pitts
Deputy Clerk
                                                         UNITED STATES JUDICIAL PANEL
                                                                      on
                                                          MULTIDISTRICT LITIGATION


           IN RE: NATIONAL PRESCRIPTION OPIATE LITIGATION                                          MDL No. 2804


                                                                      TRANSFER ORDER


                   Before the Panel:* Plaintiffs in 28 actions and Southern District of Ohio defendant Mylan Bertek
           Pharmaceuticals, Inc., move under Panel Rule 7.1 to vacate the orders conditionally transferring the
           actions listed on Schedule A to MDL No. 2804. Various defendants1 oppose the motions.

                    After considering the argument of counsel, we find these actions involve common questions of
           fact with the actions previously transferred to MDL No. 2804, and that transfer under 28 U.S.C. § 1407
           will serve the convenience of the parties and witnesses and promote the just and efficient conduct of the
           litigation. Moreover, transfer is warranted for the reasons set out in our order directing centralization.
           In that order, we held that the Northern District of Ohio was an appropriate Section 1407 forum for
           actions sharing factual questions regarding the allegedly improper marketing and distribution of various
           prescription opiate medications into cities, states and towns across the country. See In re: Nat’l
           Prescription Opiate Litig., 290 F. Supp.3d 1375 (J.P.M.L. 2017).

                   Despite some variances among the actions before us, they all share a factual core with the MDL
           actions: the manufacturing and distributor defendants’ alleged knowledge of and conduct regarding the
           diversion of these prescription opiates, as well as the manufacturers’ allegedly improper marketing of
           such drugs. The actions therefore fall within the MDL’s ambit.




                  *
                  Judges Ellen Segal Huvelle and Nathaniel Gorton did not participate in the decision of this
             matter.
                  1
                    Amerisourcebergen Drug Corp.; Cardinal Health, Inc., and Cardinal Health 110, LLC; and
             McKesson Corp. (distributor defendants); Allergan PLC, Actavis LLC, Actavis Pharma, Inc.;
             Allergan Finance, LLC; Cephalon, Inc.; Endo Health Solutions Inc., Endo Pharmaceuticals, Inc.;
             Insys Manufacturing LLC, Insys Therapeutics, Inc.; Janssen Pharmaceutica Inc., and
             Ortho-McNeil-Janssen Pharmaceuticals, Inc.; Johnson & Johnson; Mallinkrodt plc and Mallinckrodt
             Enterprises, LLC; Purdue Pharma L.P., Purdue Pharma, Inc., and The Purdue Frederick Company,
             Inc.; Teva Pharmaceuticals USA, Inc., and Teva Pharmaceuticals Industries Ltd.; Watson
             Laboratories, Inc., Watson Pharma, Inc. and Watson Pharmaceuticals, Inc. (manufacturing
             defendants); Express Scripts Holding Co., Express Scripts, Inc.; Optum, Inc., OptumRx, Inc.;
             UnitedHealth Group Incorporated; the University of Kansas Hospital Authority; and Walgreen Co.,
             Walgreen Eastern Co., and Walgreen Boots Alliance, Inc.


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        The parties opposing transfer in 28 actions argue principally that federal jurisdiction is lacking
over their cases. But opposition to transfer challenging the propriety of federal jurisdiction is insufficient
to warrant vacating conditional transfer orders covering otherwise factually related cases.2 Several parties
argue that including their actions in this large MDL will cause them inconvenience. Given the
undisputed factual overlap with the MDL proceedings, transfer is justified in order to facilitate the
efficient conduct of the litigation as a whole. See In re: Watson Fentanyl Patch Prods. Liab. Litig., 883
F. Supp. 2d 1350, 1351-52 (J.P.M.L. 2012) (“[W]e look to the overall convenience of the parties and
witnesses, not just those of a single plaintiff or defendant in isolation.”).

        Plaintiff in the Western District of Missouri Tudhope action asserts that her action is unique
because it is an individual personal injury action arising from her use of the fentanyl spray Subsys. But
there are several personal injury actions pending in the MDL. The maker of Subsys is a defendant in over
600 cases, and the distributor defendant named in Tudhope, AmeriSourceBergen, is a defendant in over
1150 cases. Substantial efficiencies can be gained by including this factually related action in the MDL.

        IT IS THEREFORE ORDERED that the actions listed on Schedule A are transferred to the
Northern District of Ohio and, with the consent of that court, assigned to the Honorable Dan A. Polster
for inclusion in the coordinated or consolidated pretrial proceedings.


                                         PANEL ON MULTIDISTRICT LITIGATION




                                                           Sarah S. Vance
                                                                Chair

                                        Lewis A. Kaplan                 R. David Proctor
                                        Catherine D. Perry              Karen K. Caldwell




    2
      See, e.g., In re: Prudential Ins. Co. of Am. Sales Practices Litig., 170 F. Supp. 2d 1346, 1347-
 48 (J.P.M.L. 2001).


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IN RE: NATIONAL PRESCRIPTION OPIATE LITIGATION                    MDL No. 2804


                                        SCHEDULE A

           Northern District of Georgia

     COUNTY OF FANNIN v. RITE AID OF GEORGIA, INC., ET AL.,
         C.A. No. 2:18!00220

           Western District of Missouri

     TUDHOPE, ET AL. v. AMERISOURCEBERGEN DRUG CORPORATION, ET AL.,
         C.A. No. 4:18!00932

           Southern District of Ohio

     MEIGS COUNTY, OHIO v. CARDINAL HEALTH, INC., ET AL.,
          C.A. No. 2:18!01582
     WASHINGTON COUNTY, OHIO BY ITS COMMISSIONERS, ET AL. v. CARDINAL
          HEALTH, INC., ET AL., C.A. No. 2:18!01706

           Eastern District of Oklahoma

     SEMINOLE COUNTY BOARD OF COUNTY COMMISSIONERS v. PURDUE
          PHARMA, LP, ET AL., C.A. No. 6:18!00372

           Western District of Oklahoma

     CHEYENNE AND ARAPAHO TRIBES v. PURDUE PHARMA LP, ET AL.,
         C.A. No. 5:19!00039

     CHEYENNE AND ARAPAHO TRIBES v. WATSON LABORATORIES, INC.,
         ET AL., C.A. No. 5:19!00042

           Eastern District of Pennsylvania

     COUNTY OF CARBON v. PURDUE PHARMA L.P., ET AL., C.A. No. 2:18!05625
     DELAWARE COUNTY, PENNSYLVANIA v. PURDUE PHARMA L.P., ET AL.,
         C.A. No. 2:18!05627

           Southern District of Texas

     COUNTY OF BLANCO v. PURDUE PHARMA L.P., ET AL., C.A. No. 4:18!04705
     COUNTY OF JASPER v. PURDUE PHARMA L.P., ET AL., C.A. No. 4:18!04706
     COUNTY OF GALVESTON v. PURDUE PHARMA L.P., ET AL.,
         C.A. No. 4:18!04708

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    COUNTY OF LEON v. PURDUE PHARMA L.P., ET AL., C.A. No. 4:18!04709
    COUNTY OF HARDIN v. ENDO HEALTH SOLUTIONS, INC., ET AL.,
        C.A. No. 4:19!00114
    COUNTY OF NEWTON v. ENDO HEALTH SOLUTIONS, INC., ET AL.,
        C.A. No. 4:19!00117

          Eastern District of Virginia

    CITY OF ALEXANDRIA v. PURDUE PHARMA, L.P., ET AL., C.A. No. 1:18!01536

          Western District of Virginia

    WASHINGTON COUNTY, VIRGINIA v. PURDUE PHARMA, L.P., ET AL.,
          C.A. No. 1:18!00046
    BUCHANAN COUNTY, VIRGINIA v. PURDUE PHARMA, L.P., ET AL.,
          C.A. No. 1:18!00047
    DICKENSON COUNTY v. PURDUE PHARMA, L.P., ET AL., C.A. No. 2:18!00048
    LEE COUNTY, VIRGINIA v. PURDUE PHARMA, L.P., ET AL.,
          C.A. No. 2:18!00049
    CITY OF NORTON, VIRGINIA v. PURDUE PHARMA L.P., ET AL.,
          C.A. No. 2:18!00050
    PITTSYLVANIA COUNTY v. PURDUE PHARMA, L.P., ET AL.,
          C.A. No. 4:18!00070
    HENRY COUNTY, VIRGINIA v. PURDUE PHARMA, L.P., ET AL.,
          C.A. No. 4:18!00071
    PAGE COUNTY v. PURDUE PHARMA, L.P., ET AL., C.A. No. 5:18!00147
    CITY OF GALAX, VIRGINIA v. PURDUE PHARMA, L.P., ET AL.,
          C.A. No. 7:18!00617
    GILES COUNTY v. PURDUE PHARMA, L.P., ET AL., C.A. No. 7:18!00618
    MONTGOMERY COUNTY v. PURDUE PHARMA, L.P., ET AL.,
          C.A. No. 7:18!00619

          Western District of Wisconsin

    BAD RIVER BAND OF LAKE SUPERIOR CHIPPEWA v. PURDUE PHARMA
         L.P., ET AL., C.A. No. 3:18!01017




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